                Case 23-11240-TMH               Doc 534        Filed 12/14/23         Page 1 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

AMERIFIRST FINANCIAL, INC., et al.,1                             Case No. 23-11240 (TMH)

                          Debtors.                               (Jointly Administered)


           WITNESS AND EXHIBIT LIST OF THE OFFICIAL COMMITTEE
          OF UNSECURED CREDITORS FOR DECEMBER 18, 2023, HEARING

                 The Official Committee of Unsecured Creditors (the “Committee”) in the above-

captioned chapter 11 cases, files this witness and exhibit list identifying the individuals that the

Committee may call as witnesses and the exhibits that the Committee may introduce into evidence

at the hearing scheduled for December 18, 2023, at 10:00 a.m. (ET) (the “Hearing”) with respect

to:

                 •        The Motion of Debtors’ for Interim and Final Orders (I) Authorizing
                          Debtors (A) to Obtain Postpetition Financing and (B) to Utilize
                          Cash Collateral, (II) Granting Adequate Protection to Prepetition
                          Lenders, (III) Modifying the Automatic State, (IV) Scheduling a
                          Final Hearing, and Granting Related Relief [Filed: 8/29/23]
                          (D.I. 21); and

                 •        Motion of the Official Committee of Unsecured Creditors of
                          AmeriFirst Financial, Inc., et al. for an Order Granting (I) Leave,
                          Standing, and Authority to Commence and Prosecute Certain
                          Claims on Behalf of the Debtors' Estates and (II) Exclusive
                          Settlement Authority in Respect of Such Claims [Filed 11/21/23]
                          (D.I. 470).




1
        The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix
        1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial, Inc.’s
        principal place of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps
        Road, Suite 117, Mesa, Arizona 85203.
             Case 23-11240-TMH           Doc 534     Filed 12/14/23    Page 2 of 8




                                          WITNESSES

                The Committee designates the following persons as witnesses at the Hearing:

                (1)    Eric Bowlby

                (2)    Matthew Dundon, Dundon Advisers LLC

                The Committee also cross-designates all witnesses designated by any other party in

connection with the motions and objections, and reserves the right to call any necessary rebuttal

witnesses.

                                           EXHIBITS

                The Committee designates the following exhibits that may be introduced at the

Hearing:

  Exhibit No.                        Document Description                          Docket No.

     1.           Declaration of Edward E. Filusch in Support of the Official 278
                  Committee of Unsecured Creditors of AmeriFirst Financial,
                  Inc., et al.’s Omnibus Reply in Further Support of Application
                  to Retain and Employ Kasowitz Benson Torres LLP as Special
                  Litigation Counsel Nunc Pro Tunc to September 19, 2023.

     2.           Declaration of T. Scott Avila in Support of First Day Motions.   20

     3.           Motion of the Debtors for Interim and Final Orders (I) 21
                  Authorizing Debtors (A) to Obtain Postpetition Financing and
                  (B) to Utilize Cash Collateral, (II) Granting Adequate
                  Protection to Prepetition Lenders, (III) Modifying the
                  Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                  Granting Related Relief (Attachments: #1 Exhibits 1 –
                  Proposed Interim Order).

     4.           Interim Order (I) Authorizing Debtors (A) To Obtain 21 – Ex. 1
                  Postpetition Financing And (B) To Utilize Cash Collateral, (II)
                  Granting Adequate Protection to Prepetition Lenders, (III)
                  Modifying the Automatic Stay, (IV) Scheduling a Final
                  Hearing, and (V) Granting Related Relief.
      Case 23-11240-TMH       Doc 534    Filed 12/14/23    Page 3 of 8




5.      Preliminary Objection of Eric Bowlby to Debtors' First Day 44
        Motions (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
        C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G
        # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit K
        # 12 Certificate of Service).

6.      Final Order Under Sections 105(a), 363, 1107(a) and 1108 of 116
        the Bankruptcy Code (I) Authorizing the Debtors to Continue
        in the Ordinary Course of Business: (A) Sale Activities Related
        to Certain "CIK" Properties, (B) Originating and Funding
        Mortgage, Loans, (C) Selling "Scratch and Dent Loans", (D)
        Servicing Loans, and (II) Granting Related Relief. Order
        Signed on 9/13/2023.

7.      Scheduling and Protective Order. Order Signed on 10/5/2023.   222

8.      Email dated 9/21/23                                           243 – Ex. C

9.      Email dated 9/26/23                                           243 – Ex. E

10.     Email dated 8/24/23                                           243 – Ex. F

11.     Email dated 9/26/23                                           243 – Ex. G

12.     [SEALED] Objection // Preliminary Objection of the Official 256
        Committee of Unsecured Creditors to Motion of the Debtors
        for Interim and Final Orders (I) Authorizing Debtors (A) to
        Obtain Postpetition Financing and (B) to Utilize Cash
        Collateral, (II) Granting Adequate Protection to Prepetition
        Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a
        Final Hearing, and (V) Granting Related Relief (related
        document(s)[21], [61], [231]) Filed by Official Committee Of
        Unsecured Creditors (Attachments: # (1) Exhibit 1 # (2)
        Exhibit 2 # (3) Exhibit 3 - Part 1 # (4) Exhibit 3 - Part 2 # (5)
        Exhibit 3 - Part 3 # (6) Exhibit 4 # (7) Exhibit 5 # (8) Exhibit 6
        # (9) Exhibit 7).

13.     The Official Committee of Unsecured Creditors of AmeriFirst 277
        Financial, Inc., et al.’s Omnibus Reply in Further Support of
        Application to Retain and Employ Kasowitz Benson Torres
        LLP as Special Litigation Counsel Nunc Pro Tunc to
        September 19, 2023.

14.     Declaration of Matthew Dundon in Support of the Amended 310-4
        and Restated Objection of the Official Committee of
        Unsecured Creditors to Motion of the Debtors for Interim and
      Case 23-11240-TMH        Doc 534     Filed 12/14/23     Page 4 of 8




        Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
        Financing and (B) to Utilize Cash Collateral, (II) Granting
        Adequate Protection to Prepetition Lenders, (III) Modifying
        the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
        Granting Related Relief

15.     [SEALED] Amended Objection // Amended and Restated 310
        Objection of the Official Committee of Unsecured Creditors to
        Motion of the Debtors for Interim and Final Orders (I)
        Authorizing Debtors (A) to Obtain Postpetition Financing and
        (B) to Utilize Cash Collateral, (II) Granting Adequate
        Protection to Prepetition Lenders, (III) Modifying the
        Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
        Granting Related Relief (related document(s)[21], [61], [231],
        [256]) Filed by Official Committee Of Unsecured Creditors
        (Attachments: # (1) Exhibit 1 # (2) Exhibit 2 # (3) Exhibit 3 -
        Part 1 # (4) Exhibit 3 - Part 2 # (5) Exhibit 3 - Part 3 # (6)
        Exhibit 4 # (7) Exhibit 5 # (8) Exhibit 6 # (9) Exhibit 7 # (10)
        Exhibit 8 # (11) Exhibit 9 # (12) Exhibit 10 # (13) Exhibit 11
        # (14) Exhibit 12 # (15) Exhibit 13 # (16) Exhibit 14).

16.     October 19, 2023, Dep. Tr. of Mr. Scott Avila for In re N/A
        AmeriFirst Financial, Inc., et al (Case No. 23-11240 (TMH))
        (Attachments # (1) Exhibit 1 # (2) Exhibit 2 # (3) Exhibit 3 #
        (4) Exhibit 4 # (5) Exhibit 5 # (6) Exhibit 6 # (7) Exhibit 7 #
        (8) Exhibit 8 # (9) Exhibit 9 # (10) Exhibit 10 # (11) Exhibit
        11 # (12) Exhibit 12 # (13) Exhibit 13 # 14 Exhibit (14) # (15)
        Exhibit 15 # (16) Exhibit 16 # (17) Exhibit 17 # (18) Exhibit
        18 # (19) Exhibit 19 # (20) Exhibit 20 # (21) Exhibit 21 # (22)
        Exhibit 22 # (23) Exhibit 23 # (24) Exhibit 24 # (25) Exhibit
        25)

17.     October 23, 2023, Dep. Tr. of Mr. Scott Avila for In re N/A
        AmeriFirst Financial, Inc., et al (Case No. 23-11240 (TMH))
        (Attachments # (26) Exhibit 26 # (27) Exhibit 27 # (28) Exhibit
        28 # (29) Exhibit 29 # (30) Exhibit 30 # (31) Exhibit 31 # (32)
        Exhibit 32 # (33) Exhibit 33 # (34) Exhibit 34)

18.     October 20, 2023, Transcript regarding Hearing on United N/A
        States Trustee’s Motion to Transfer Venue

19.     12/02/22 Letter from Kasowitz Benson Torres to RCP                N/A

20.     08/17/23 Email from B. Schartz to S. Hill                         N/A
      Case 23-11240-TMH       Doc 534    Filed 12/14/23   Page 5 of 8




21.     08/18/23 Email from S. Hill to T. Samets                   N/A

22.     08/19/23 Email from L. Jones to A. Cheng                   N/A

23.     08/20/23 Wind-Down Presentation (attachment to 08.22.23 N/A
        Email from T. Samets to S. Avila)
24.     08/22/23 Letter from Kasowitz Benson Torres to RCP      N/A

25.     08/22/23 Email from J. Dane to C. Greco                    N/A

26.     08/22/23 Email from J. Dane to B. Schartz                  N/A

27.     08/23/23 Email from A. Cheng to R. Simon                   N/A

28.     08/23/23 Email from D. Sloane to S. Avila                  N/A

29.     08/23/23 Email from L. Jones to B. Murphy                  N/A

30.     08/23/23 Email from L. Jones to B. Schartz                 N/A

31.     08/23/23 Email from L. Jones to P. Tomasco                 N/A

32.     08/23/23 Email from S. Avila to R. Simon Attachment Key N/A
        Accountabilities
33.     08/23/23 Email from S. Avila to R. Simon                N/A

34.     08/23/23 Email from S. Herrup to J. Dane                   N/A

35.     08/23/23 Email from T. Samets to P. Tomasco and Meeting    N/A
        Invite
36.     08/24/23 AmeriFirst Financial Inc. Board Consent 8.24.23   N/A
        Fully Executed
37.     08/24/23 AmeriFirst Financial, Inc. Shareholder Consent    N/A
        8.24.23 Fully Executed
38.     08/24/23 AmeriFirst Petition and Written Consent           N/A

39.     08/24/23 Officer Director Shareholder Change Fully Executed N/A

40.     08/24/23 Phoenix Petition and Written Consent              N/A

41.     08/24/23 Email from D. Sloane to S. Avila                  N/A

42.     08/25/23 Email from J. Dane to S. Avila                    N/A

43.     08/26/23 Email from M. Litvak to B. Murphy                 N/A
              Case 23-11240-TMH         Doc 534      Filed 12/14/23     Page 6 of 8




     44.         08/29/23 DIP Financing Motion                                     N/A

     45.         08/29/23 First Day Dec                                            N/A

     46.         08/30/23 AFI Transcript – 08-30-23 – 1st Day Hearing              N/A

     47.         08/31/23 Email from D. Sloane to L. Jones                         N/A

     48.         08/31/23 Email from J. Dane to S. Avila                           N/A

     49.         09/05/23 Email from D. Sloane to J. Dane                          N/A

     50.         09/05/23 J. Dane Engagement Letter attachment                     N/A

     51.         09/06/23 Email from D. Sloane to J. Dane                          N/A

     52.         09/06/23 Additional First Day Dec                                 N/A

     53.         09/07/23 Notice Proposed Final Order [with Challenge Period] N/A

     54.         10/06/23 Email from M. Litvak to P. Tomasco                       N/A

     55.         10/06/23 Proposed Revised Final Order [without Challenge N/A
                 Period]
     56.         RCP00001589                                              N/A

     57.         RCP00001591(pres)                                                 N/A

     58.         08.24.23_G_REV0032987                                             N/A

     59.         08.24.23_H_REV0032989 (attachment to                              N/A
                 08.24.23_G_REV0032987)
     60.         9/30/23 Email from P. Tomasco REV0008483                          N/A

     61.         October 19, 2023, Dep. Tr. of Jeffrey Dane for In re              N/A
                 AmeriFirst Financial, Inc., et al

                                RESERVATION OF RIGHTS

               In consideration of ongoing discovery and discussions with counsel for the Debtors

and RCP, the Committee reserves the right to amend and/or supplement the foregoing witness list

any time prior to the Hearing. The Committee further reserves the right to call any rebuttal and/or
              Case 23-11240-TMH           Doc 534      Filed 12/14/23     Page 7 of 8




impeachment witness as necessary and to cross-examine any witness called by any other party at

the Hearing. The Committee reserves the right to not call any witness identified herein.

               The Committee further reserves the right to use additional exhibits for purposes of

rebuttal or impeachment and to further supplement the foregoing exhibit list as appropriate. The

Committee also reserves the right to rely upon and use as evidence (i) exhibits included on the

exhibit lists of any other party in interest, and (ii) any pleading, hearing transcript, order or other

document.



                                     [Signature Page Follows]
            Case 23-11240-TMH     Doc 534    Filed 12/14/23    Page 8 of 8




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                                - and -

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